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                           UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                     ORLANDO DIVISION


    MICHAEL GOMEZ, and individual,
    IAN JOI, an individual, JOSEPH
    LOWE, an individual, and
    ALEJANDRO BAEZ and JOSEPHINE
    CARTAGENA, as Co-Representatives
    of the Estate of JAYDEN BAEZ,

                       Plaintiffs,

    v.                                             Case No: 6:23-cv-1824-GAP-LHP

    SCOTT KOFFINAS, an individual,
    RAMY YACOUB, and individual, and
    MARCO R. LOPEZ, in his official
    capacity as Sheriff of Osceola County,

                       Defendants




                                           ORDER
          This cause came on for consideration without oral argument on the following

    motion filed herein:

          MOTION: PLAINTIFFS’ SECOND AMENDED MOTION FOR
                  LEAVE TO AMEND COMPLAINT WITH
                  INCORPORATED MEMORANDUM IN SUPPORT
                  OF PLAINTIFFS’ MOTION FOR LEAVE TO AMEND
                  (Doc. No. 24)

          FILED:       March 22, 2024
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          THEREON it is ORDERED that the motion is GRANTED.

          On September 20, 2023, Plaintiffs Michael Gomez, Ian Joi, Joseph Lowe, and

    Alejandro Baez and Josephine Cartagena (as co-representatives of the estate of

    Jayden Baez) (the “Baez Estate”) filed suit against Defendants Scott Koffinas, Ramy

    Yacoub, and Osceola County Sheriff Marco Lopez alleging claims under the Fourth

    Amendment to the United States Constitution, 42 U.S.C. § 1983 and Fla. Stat. §

    768.28(9)(a).   Doc. No. 1.    In sum, Plaintiffs allege Defendants Koffinas and

    Yacoub exhibited “excessive and unreasonable” force in responding to an alleged

    shoplifting incident by opening fire through the front and back windshields of a car

    occupied by Plaintiffs, resulting in Jayden Baez’s death, physical injuries to Plaintiff

    Gomez, and “great emotional and psychological trauma” to Plaintiffs Gomez,

    Lowe, and Joi. Id. ¶¶ 22, 31, 32, 34, 38. The Complaint at present alleges claims of

    excessive force by Michael Gomez, Joseph Lowe, and Ian Joi against Scott Koffinas

    (Counts I-III); claims of excessive force by these same three Plaintiffs against Ramy

    Yacoub (Counts IV-VI); a claim of excessive force by the Baez Estate against Ramy

    Yacoub (Count VII); a municipal liability Monell claim by all Plaintiffs against

    Sheriff Lopez (Count VIII); and a tort claim under Fla. Stat. § 769.28(9)(a) by all

    Plaintiffs against Sheriff Lopez (Count IX). Doc. No. 1.

          On November 13, 2023, the Court issued a Case Management and Scheduling

    Order (“CMSO”), which set a deadline of February 23, 2024 to add parties or amend

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    pleadings.   Doc. No. 18, at 1.       On March 22, 2024, four (4) weeks after the

    expiration of that deadline, Plaintiffs filed the present motion, through which they

    seek to file an amended complaint. Doc. No. 24. 1 Specifically, Plaintiffs wish to

    add factual allegations arising from grand jury presentment findings related to this

    action, to add one claim by the Baez Estate against Scott Koffinas for excessive force

    under the Fourth Amendment, and to remove Plaintiffs’ Fla. Stat. § 768.28(9)(a)

    claim against Sheriff Lopez (Count IX). Id. Defendants oppose the motion, and

    Plaintiffs have filed an authorized reply.         Doc. Nos. 26, 30. 2      The motion is

    therefore ripe for review.

          Ordinarily, “[a] party may amend the party’s pleading once as a matter of

    course at any time before a responsive pleading is served . . . Otherwise a party may

    amend the party’s pleading only by leave of court or by written consent of the

    adverse party; and leave shall be freely given when justice so requires.” Fed. R.

    Civ. P. 15(a). In this case, however, Defendants have previously answered the

    complaint (Doc. No. 16), and the deadline to amend pleadings has expired. See




          1 This is Plaintiffs’ third attempt to file a motion for leave to amend.
                                                                               The first was
    denied without prejudice for failure to comply with Local Rule 3.01(a). Doc. Nos. 20, 22.
    The second was denied as moot when Plaintiffs filed the present motion. Doc. Nos. 23,
    25.
          2 The Court struck Plaintiffs’ first reply for failure to comply with the typography

    and spacing requirements in Local Rule 1.08. Doc. Nos. 28, 29.

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    Doc. No. 18, at 1. Thus, in order to obtain their requested relief, Plaintiffs must

    obtain leave of Court and must demonstrate that amendment is appropriate under

    the good cause standard in Federal Rule of Civil Procedure 16. Gatti as Tr. President

    of Twin Palms Inc. v. Goodman, No. 2:16-cv-728-FtM-29CM, 2017 WL 11527980, at *2

    (M.D. Fla. Dec. 14, 2017) (“A party’s motion to amend pleadings filed after the

    court’s deadline may be granted only upon a showing of good cause”). See also

    Doc. No. 18, at 4 (stating that motions to extend deadlines “will not be extended

    absent a showing of good cause.”) (citing Fed. R. Civ. P. 16(b)(4)).

          Rule 16(b)(4)’s good cause standard requires a litigant to show that, despite

    their diligence, the deadlines in the scheduling order could not have been met.

    Sosa v. Airprint Sys., Inc., 133 F.3d 1417, 1418 (11th Cir. 1998). This diligence is

    assessed by considering the following factors: “(1) whether the plaintiff failed to

    ascertain facts prior to filing the complaint or failed to acquire information during

    the discovery period, (2) whether the information supporting the proposed

    amendment was available to the plaintiff, and (3) whether, even after acquiring the

    information, the plaintiff delayed in requesting leave to amend.” Arianas v. LVNV

    Funding LLC, 307 F.R.D. 615, 616–17 (M.D. Fla. 2015) (citations omitted). Once

    good cause is established, “a court should deny leave to amend a pleading only

    when: (1) the amendment would be prejudicial to the opposing party; (2) there has

    been bad faith or undue delay on the part of the moving party; or (3) the amendment

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    would be futile.” Taylor v. Fla. State Fair Auth., 875 F. Supp. 812, 814 (M.D. Fla.

    1995) (citing Foman v. Davis, 371 U.S. 178, 182 (1962)). “Overall, in deciding whether

    to grant leave to amend, the court maintains wide discretion ‘[even] after the filing

    of responsive pleadings, and in the face of an imminent adverse ruling.’” Gatti,

    2017 WL 11527980, at *2 (quoting Quinn v. Deutsche Bank Nat’l Tr. Co., 625 F. App’x

    937, 940 (11th Cir. 2015)).

          Upon review of the motion, response, and reply, the Court finds that

    Plaintiffs have established good cause for their requested amendment.               The

    information that they wish to include comes from grand jury proceedings, which

    were not made available to Plaintiffs until February 29, 2024. Doc. No. 24, at 2;

    Doc. No. 30, at 2. Defendants do not challenge this fact. Doc. No. 26, at 2 (noting

    that “the timing of the release of the grand jury presentment on February 29, 2024

    might represent good cause to allow amendment. . . .”). And the Court does not

    find that Plaintiffs acted in bad faith or unduly delayed requesting leave to amend

    — their original motion (albeit procedurally deficient) was filed only 20 days after

    they obtained the grand jury information.           See Doc. No. 20.       And again,

    Defendants do not challenge this fact.      The Court also finds that no prejudice

    would result from this amendment, as the case is relatively still in its infancy, no

    depositions have yet been taken, and discovery does not close until March 31, 2025.

    See Doc. No. 18, at 1; Doc. No. 30, at 4. See also Brucker v. Lowe’s Home Centers, Inc.,

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    No. 2:10-CV-405-FTM-29, 2011 WL 2729152, at *1 (M.D. Fla. July 13, 2011) (finding

    good cause to allow amendment of complaint in part because the litigation was in

    its infancy and no discovery had yet taken place).

          Instead, Defendants make three arguments in opposition to the amendment.

    First, they contend that the motion should be denied on its face for failure to

    demonstrate good cause. Doc. No. 26, at 2–3 (citing Doe v. Predator Catchers, No.

    3:22-cv-414-MMH-LLL, 2024 WL 1193725 (M.D. Fla. Feb. 15, 2024)). The Court

    disagrees. While Plaintiffs’ motion is brief, Plaintiffs do articulate in general terms

    the reasons for the requested amendment, and further expand on them — as

    directed by the Court — in their reply. Doc. Nos. 24, 30. Moreover, as Defendants

    also acknowledge, the timing of the grand jury presentment can establish good

    cause. Therefore, the Court finds this first argument unpersuasive.

          Next, Defendants argue that amendment to include a new excessive force

    claim against Scott Koffinas should not be permitted both because Plaintiffs do not

    explain why they waited so long to seek to add this claim, and because the facts

    alleged do not support such a claim. Doc. No. 26, at 4–5. As to Defendants’ first

    point, Plaintiffs explain in their reply that Ramy Yacoub previously made

    conflicting statements as to whether or not he fired his weapon at Jayden Baez,

    however it was not until the grand jury presentment that any information became

    available suggesting that both Ramy Yacoub and Scott Koffinas discharged their

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    firearms into the vehicle that Jayden Baez was driving. Doc. No. 30, at 4–5. Thus,

    the Court finds that Plaintiffs have sufficiently explained why they did not seek

    amendment earlier.

          As to Defendants’ second point, Defendants contend that the original and

    amended complaints do not sufficiently allege that Scott Koffinas fired any shots

    that struck and killed Jayden Baez.     Doc. No. 26, at 5.    Rather, the proposed

    amended complaint alleges that Scott Koffinas fired multiple gun shots into the rear

    windshield of the Audi, and that Jayden Baez was shot multiple times in the chest

    by Ramy Yacoub. Doc. No. 24-1, ¶¶ 31, 34. Because there are no proposed factual

    allegations that Scott Koffinas actually discharged the fatal bullets at Jayden Baez,

    Defendants argue that amendment to include a claim of excessive force against Scott

    Koffinas would fail to state a claim for relief. Doc. No. 26, at 5. Plaintiffs do not

    address this precise argument in their reply, other than to state that they should be

    given leave to plead claims in the alternative, and again reference the grand jury

    presentment. Doc. No. 30, at 4–5.

          While a closer call, the Court is not persuaded by Defendants’ argument.

    First, the Court does not find that the factual allegations completely preclude a

    claim of excessive force against Scott Koffinas. There are allegations that he shot

    into the car that Jayden Baez was in, and the grand jury report, which is attached as

    an exhibit to the amended complaint, clearly states that both Ramy Yacoub and

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    Scott Koffinas discharged their firearms into the vehicle, killing Jayden Baez. Doc.

    No. 24, ¶ 31; Doc. No. 24-1, at 33. In order for the Court to foreclose amendment,

    the Court would have to find that amendment would be futile. That is not the case

    here. See Taylor, 875 F. Supp. at 815 (“[L]eave to amend should only be denied on

    the ground of futility when the proposed amendment is clearly insufficient or

    frivolous on its face. That is not the case here. The determination of whether the

    defendant Florida State Fair Authority authorized the alleged retaliatory acts by

    defendants Carlton, Stengel, or Rigdon, or held these individuals out as its

    authorized agents with regard to the alleged retaliatory actions, appears to require

    a complex factual inquiry. As such, the proposed amended complaint is not

    frivolous or clearly insufficient on its face and the plaintiff’s motion for leave to

    amend should therefore not be denied on the ground of futility.”) (citations

    omitted). See also Meyers v. Starr Indem. & Liab. Co., No. 6:19-cv-1226-Orl-40DCI,

    2019 WL 5448692, at *2 (M.D. Fla. Sept. 26, 2019) (granting leave to amend where

    plaintiffs previously had not sought leave to amend, the case was in its infancy, and

    the court could not conclude that the proposed amendment would fail to survive a

    motion to dismiss or be immediately subject to summary judgment).

          Third, Defendants somewhat confusingly argue against allowing Plaintiffs to

    amend their complaint to remove the Fla. Stat. § 769.28(9)(a) claim (Count IX). Doc.

    No. 26, at 5–6.   Providing no legal authority in support, and recognizing the

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    “unusual” nature of their argument, Defendants contend that Plaintiffs could have

    dropped this claim earlier, and speculate that Plaintiffs will re-file this claim in state

    court. Id. As Plaintiffs point out in their reply, see Doc. No. 30, at 3, Defendants

    point to no legally cognizable harm they will suffer by the removal of this claim.

    And the Court will not subvert the liberal amendment standards of Fed. R. Civ. P.

    15 based on speculation.          As such, the Court also finds this argument

    unpersuasive.     Cf., Moody v. Synchrony Bank, No. 5:20-CV-61 (MTT), 2020 WL

    5806893, at *1 (M.D. Ga. Sept. 29, 2020) (rejecting argument in motion to dismiss that

    was based on speculation about facts not alleged in the complaint).

          Defendants’ remaining arguments are more suited for dispositive motions

    practice as they challenge the relevancy of the proposed amended allegations, the

    admissibility at trial of the grand jury presentment, and in particular, whether these

    allegations and materials would support a municipal liability Monell claim. Doc.

    No. 26, at 6–7.    As Defendants themselves acknowledge, these arguments are

    premature, and in the absence of any legal authority suggesting that amendments

    should be precluded on this basis, will not prevent amendment here. See Bowers v.

    Am. Heart Ass’n, Inc., 513 F. Supp. 2d 1364, 1367 (N.D. Ga. 2007) (“This Court has

    found no case law (and Defendants have cited none) requiring that a plaintiff




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    submit admissible evidence or reduce otherwise inadmissible hearsay to an

    admissible form when filing a motion to amend the complaint.”). 3

           Accordingly, Plaintiff’s motion to amend the complaint (Doc. No. 24) is

    GRANTED. Plaintiff shall file the proposed amended complaint attached to their

    motion (Doc. No. 24-1) within seven (7) days from the date of this Order.

    Defendants shall answer or otherwise respond to the amended complaint within

    the time limits afforded by Fed. R. Civ. P. 15(a)(3).

           DONE and ORDERED in Orlando, Florida on April 9, 2024.




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             The two cases cited by Defendants in their motion are factually distinguishable.
    See Smith v. City of Lake City, Fla., No. 3:12–cv–553–J–99MMH–TEM, 2012 WL 4772286, at
    *2 (M.D. Fla. Oct. 8, 2012) (granting motion to strike paragraph of complaint where
    individual plaintiff raised allegations enumerating a claim “restricted to class action
    lawsuits.”); United States v. Med-Care Diabetic & Med. Supplies, Inc., No. 10–81634–CIV, 2014
    WL 12279511, at *2 (S.D. Fla. June 17, 2014) (granting motion to strike allegations in and
    exhibits to complaint in qui tam action detailing Defendant’s prior felony conviction for
    securities fraud as “an end run around the rules of evidence, which prohibit citation to past
    wrongdoing or character evidence as probative of a propensity to act in accordance with
    that character trait.” (citations omitted)). Here, Plaintiffs do not seek to include
    allegations that relate to claims not at issue in this case, and as Plaintiffs make clear in their
    reply, whether or not the grand jury presentment constitutes hearsay is far from a foregone
    conclusion. See Doc. No. 30, at 5–6.



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    Copies furnished to:

    Counsel of Record
    Unrepresented Parties




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